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                                                                 U.S. DISTRICT COURT
                                                            EASTERN DISTRICT OF NEW YORK
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